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10
                                UNITED STATES DISTRICT COURT
11
                               CENTRAL DISTRICT OF CALIFORNIA
12
13       DOE et al.,                              NO. 5:22-CV-855-JGB-SP
14                     Plaintiffs,                PROPOSED ORDER RE:
15             v.                                 STIPULATION TO CONTINUE
                                                  AUGUST 29, 2022 HEARING
16
         U.S. DEPARTMENT OF JUSTICE
17       et al.,                                  Honorable Jesus G. Bernal
18                                                United States District Judge
                       Defendants.
19
20
             Pursuant to the Stipulation filed by the parties and for good cause shown,
21
22           IT IS HEREBY ORDERED that the hearing on Plaintiffs’ Motion for
23    Preliminary Injunction is CONTINUED from August 29, 2022 to ________ [a date
24    on or after September 1, 2022 convenient to the Court].
25    DATED: ___________, 20__
26                                           _______________________________
                                             Hon. Jesus G. Bernal
27
                                             United States District Court
28



      Order
      Case No. 5:22-CV-855-JGB-SP
